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                     6

                     7

                     8                                  UNITED STATES BANKRUPTCY COURT
                     9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12    In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13             SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB

                    14                                                                Chapter 11
                                     Debtors and Debtors in
                    15               Possession.
                          SCOOBEEZ, INC.,                                             Adv. No. 2:19-ap-01456-WB
                    16
                                           Plaintiff                                  AMAZON LOGISTICS, INC.’S
                    17                                                                OPPOSITION TO MOTION TO
                                   v.                                                 INTERVENE (DOCKET NO. 6)
                    18
                          AMAZON LOGISTICS, INC.,                                       Date:        November 18, 2019
                    19                                                                  Time:        10:00 a.m.
                                           Defendant.                                   Place.:      United States Bankruptcy Court
                    20                                                                               Edward Roybal Federal Building
                                                                                                     255 E Temple St., Ctrm 1375
                    21                                                                               Los Angeles CA 90012
                    22

                    23             Defendant Amazon Logistics, Inc. (“Amazon Logistics”), respectfully submits the

                    24    following opposition to Hillair Capital Management, LLC’s motion to intervene herein:

                    25    ///

                    26    ///

                    27    1
                            The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                          Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                    28    Boulevard, in Glendale, California 91214.
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                     1                                                       I.

                     2                                             INTRODUCTION

                     3             Hillair’s motion to intervene should be denied. Bankruptcy Code § 1109(b) does not

                     4    provide Hillair with a statutory right to intervene. Further, because Hillair is an entity, not an

                     5    individual, and does not allege, and cannot allege, that it has suffered any particularized injury

                     6    based upon the stay violations that it contends to have occurred (and which Amazon Logistics

                     7    denies), it cannot pursue claims for alleged violation of the stay. Hillar is not entitled to intervene

                     8    as a matter of right because its interests are adequately represented by Scoobeez. For that same

                     9    reason, and because Hillair seeks to complicate and impose additional costs on the parties, this
                    10    Court should not exercise its discretion to permit Hillair to intervent. Finally, if, despite the

                    11    foregoing, this Court determines to permit Hillair to intervene, it should restrict Hillair’s rights as

                    12    an intervenor to filing briefs and arguing before this Court.

                    13                                                      II.

                    14               HILLAIR DOES NOT HAVE A STATUTORY RIGHT TO INTERVENE

                    15             Bankruptcy Code section 1109(b) provides that “a party in interest, including the debtor,

                    16    the trustee, a creditors’ committee, an equity security holders’ committee, a creditor, an equity

                    17    security holder, or any indenture trustee may raise and appear and be heard on any issue in a case

                    18    under this chapter.” 11 U.S.C. § 1109(b). As noted in Hillair’s motion, there is a split of

                    19    authority among the Circuit Courts of Appeal as to whether § 1109(b) confers an absolute right to
                    20    intervene in an adversary proceeding and there is no binding Ninth Circuit authority with respect

                    21    to that issue. Compare, Fuel Oil Supply and Terminaling v. Gulf Oil Corp., 762 F.2d 1283, 1286

                    22    (5th Cir. 1985) (§ 1109(b) does not apply to adversary proceedings); Richman v. First Woman’s

                    23    Bank (In re Richman), 104 F.3d 654, 658 (4th Cir. 1997) (agreeing with Fuel Oil); Vermejo Park

                    24    Corp. v. Kaiser Coal Corp. (In re Kaiser Steel Corp.), 998 F.2d 783 (10th Cir. 1993); Kowal v.

                    25    Malkemus (In re Thompson), 965 F.2d 1136, 1142 n. 8 (1st Cir. 1992); and 995 Fifth Avenue

                    26    Associates, L.P. v. New York State Department of Taxation and Finance (In re 995 Fifth Avenue

                    27    Associates, L.P.), 157 B.R. 942 (S.D.N.Y. 1993) to Term Loan Holder Committee v. Ozer Group,

                    28    L.L.C., 303 F.3d 161 (2nd Cir. 2002); Assured Guaranty Corp. v. Financial Oversight Board (In
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                     1    re the Financial Oversight and Management Board for Puerto Rico), 872 F.3d 57 (1st Cir. 2017);

                     2    and Official Unsecured Creditors’ Comm. v. Michaels (In re Marin Motor Oil, Inc.), 689 F.2d

                     3    445 (3rd Cir. 1982).

                     4             Courts holding that § 1109(b) does not grant an absolute right to intervene in an adversary

                     5    proceeding note the following:

                     6                Federal Rule of Civil Procedure 24(a)(1), which provides for intervention when the

                     7                 right is granted by a federal statute, is narrowly construed. Fuel Oil Supply and

                     8                 Terminaling v. Gulf Oil Corp., 762 F.2d 1283, 1286 (5th Cir. 1985).

                     9                Federal statutes that do grant intervention rights generally do so on behalf of
                    10                 governmental entities, not private parties. Id. Therefore, § 1109(b) is not the type of

                    11                 statute that is “generally considered to provide an absolute right of intervention.” Id.

                    12                The Bankruptcy Code and Title 28 provisions related to bankruptcy frequently draw

                    13                 distinctions between the bankruptcy case in chief and adversary proceedings. Id. See,

                    14                 28 U.S.C. § 1334(a) (exclusive jurisdiction over bankruptcy cases) and § 1334(b)

                    15                 (non-exclusive jurisdiction over proceedings arising under title 11 or arising in or

                    16                 related to cases under title 11); 28 U.S.C. § 1334(c) (providing for absention from

                    17                 hearing cases arising under title 11 or arising in or related to cases under title 11, but

                    18                 not cases under title 11) and 11 U.S.C. § 305 (providing for abstention from hearing

                    19                 cases under title 11); 28 U.S.C. §§ 1408 (prescribing the venue for cases under title
                    20                 11) and 1409 (prescribing the venue for proceedings arising under title 11 or arising in

                    21                 or related to a case under title 11).

                    22                The Advisory Committee Notes to Federal Rule of Bankruptcy Procedure 7024, which

                    23                 merely incorporates Federal Rule of Civil Procedure 24, distinguishes between

                    24                 intervention in the bankruptcy case and intervention in an adversary proceeding:

                    25                     A person may seek to intervene in the case under the Code or in an
                                           adversary proceeding relating to the case under the Code.
                    26                     Intervention in a case under the Code is governed by Rule 2018 and
                                           intervention in an adversary proceeding is governed by this rule.
                    27                     Intervention in a case and intervention in an adversary proceeding
                                           must be sought separately.
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                     1             The Rule makers’ distinction between intervention in the case and intervention in an

                     2    adversary proceeding makes no sense if § 1109(b) was meant to provide a statutory right to

                     3    intervene in adversary proceedings. Id. at 1287.

                     4             Courts holding that § 1109(b) constitutes a statutory right to intervene in an adversary

                     5    proceeding simply apply a broad reading to the term “case” as used in § 1109 so that the term

                     6    includes not only the bankruptcy case in chief, but also any adversary proceeding filed in a case.

                     7    As acknowledged by the Caldor court, however, the term “case” “is a term of art in the

                     8    bankruptcy context … that is well understood” to refer to the bankruptcy case in chief. 303 F.3d

                     9    at 168. Therefore, a broad reading of the term “case” as used in § 1109(b) ignores the well-
                    10    understood meaning of that term.

                    11             That aside, those courts holding that § 1109(b) confers a right to intervene in adversary

                    12    proceedings also ignore the remaining language of §1109(b). § 1109(b) not only authorizes

                    13    parties in interest to be heard on any issue in a case, it also authorizes them to “raise” any issue in

                    14    a case. If the term “case” is read broadly, as it must be in order to constitute a statutory right to

                    15    intervene in adversary proceedings, it must also be read broadly to allow parties in interest to

                    16    “raise” issues that would ordinarily be decided in adversary proceedings. This would, of course,

                    17    encompass, among other things, pursuing the estate’s claims against third parties, including

                    18    avoidance claims. Such a reading flies in the face of the well established law that only the

                    19    trustee/debtor-in –possession has standing to “raise” and pursue those claims. Thus, § 1109(b)’s
                    20    reference to “case” must be read narrowly to refer only to issues arising in the bankruptcy case in

                    21    chief, and not to provide a statutory right to intervene in adversary proceedings.

                    22                                                      III.

                    23       HILLAIR DOES NOT HAVE A STATUTORY RIGHT TO ASSERT THE ESTATE’S

                    24                CLAIM THAT A PARTY HAS VIOLATED THE AUTOMATIC STAY

                    25             Hillair has cited a single case in support of this astonishing argument, In re International

                    26    Forex of Cal., Inc., 247 B.R. 284 (Bankr. S.D. Cal. 2000). That case does not support Hillair’s

                    27    argument.

                    28             First, the Forex court based its holding on the fact that § 362(k) expressly provides that
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                     1    “an individual injured by any willful violation of a stay provide by this section shall recover ….”

                     2    11 U.S.C. § 362(k)(1). Hillair is an entity, not an individual, creditor. Thus, § 362(k) does not

                     3    apply to it. Johnson Environmental Corp. v. Knight (In re Goodman), 991 F.2d 613, 619 (9th Cir.

                     4    1993)

                     5             Second, as the court in Community Collectors LLC v. Mortgage Electronic Registration

                     6    Services, Inc., 2012 WL 3249509 (N.D. Cal. August 7, 2012) observed, the Forex court’s attempt

                     7    to distinguish the Ninth Circuit’s holding and rationale in Tilly v. Vucurevich (In re Pecan Groves

                     8    of Arizona), 951 F.2d 242 (9th Cir. 1991) is unavailing. In sum, the Ninth Circuit in that case

                     9    reasoned that the automatic stay “is intended solely to benefit the debtor estate,” which is
                    10    administered by the trustee (or debtor in possession). 951 F.2d at 245. As a result, allowing

                    11    creditors to pursue alleged stay violations would “subvert the trustee’s powers.” 951 F.2d 245.

                    12    See also, The Bank of New York Mellon v. SFR Investments Pool 1, LLC (In re Heaton), 697 Fed.

                    13    Apx 524 (9th Cir. 2017) (secured creditor lacked standing to assert stay violation). In this case,

                    14    the debtor in possession has filed the present proceeding seeking an adjudication of the estate’s

                    15    rights under § 362(a). Allowing Hillair to purse the same claims would, in the words of the Ninth

                    16    Circuit, “subvert” the debtor in possession’s ability to control the estate’s claims.

                    17             Third, even if, as a general matter, a creditor could have standing to assert a violation of

                    18    the automatic stay, that right is limited to circumstances where the creditor suffered a

                    19    particularized injury, rather than to vindicating the estate’s rights. McCord v. Sofer (In re Sofer),
                    20    507 B.R. 444, 449 (Bankr. E.D.N.Y. 2014) (“However, in order to have standing to seek

                    21    contempt for violation of the stay, ‘the creditor must assert a claim for his own direct injury and

                    22    not a claim that belongs to the estate . . . . If a claim is a general one, with no particularized

                    23    injury arising from it, and if that claim could be brought by any creditor of the debtor, the trustee

                    24    is the proper person to assert the claim.’”), quoting In re Ampal-American Israel Corp., 502 B.R.

                    25    361 (S.D.N.Y. 2013). Here, Hillair contends that Amazon Logistics’ actions caused harm to the

                    26    bankruptcy estate’s business, which then affected the value of its collateral and the assets that it

                    27    seeks to purchase with its credit bid. That alleged harm is a generalized one to the estate, unlike

                    28    the particularized harm suffered by the plaintiff in Forex due to the defendant’s interference with
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                     1    the plaintiff’s state court litigation in violation of the stay.

                     2             Hillair is not an “individual,” has not suffered a particularized harm other than the

                     3    purported general harm to the bankruptcy estate alleged by Scoobeez and granting Hillair

                     4    standing to assert an alleged stay violation would interfere with Scoobeez’ exclusive right, as the

                     5    debtor in possession, to control the bankruptcy estate’s assets, including its claim that Amazon

                     6    Logistics violated, or may in the future violate, the automatic stay. As a result, Hillair is not

                     7    statutorily entitled to prosecute the claims that it asserts in its proposed complaint in intervention.

                     8                                                          IV.

                     9                                     HILLAIR FAILS TO SATISFY THE
                    10                           ELEMENTS FOR MANDATORY INTERVENTION

                    11             As Hillair notes, in order to qualify for mandatory intervention pursuant to Rule 24(a),

                    12    Hillair must satisfy each of four elements: (1) the motion to intervene must be timely, (2) the

                    13    party must assert an interest relating to the property or transaction which is the subject of the

                    14    action, (3) the party must be so situated that without intervention the disposition of the action may

                    15    as a practical matter impair or impede its ability to protect that interest and (4) the party’s interest

                    16    must be inadequately represented by other parties in the action. Cedars-Sinai Medical Center v.

                    17    Shalala, 125 F.3d 765 (9th Cir. 1997).

                    18             Hillair fails to carry its burden of showing that its interest is not adequately represented by

                    19    Scoobeez. As an initial matter, Scoobeez is controlled by a Chief Restructuring Officer selected
                    20    by Hillair and who was appointed by Hillair as a condition of Scoobeez obtaining the right to use

                    21    Hillair’s cash collateral.2 Thus, Scoobeez’ handling of the litigation is in the control of an

                    22    individual selected, and presumably trusted, by Hillair. Also, Scoobeez is adequately represented

                    23    by sophisticated counsel. Thus, Hillair cannot contend that Scoobeez suffers from inadequate

                    24    representation.

                    25             In its motion, Hillair acknowledges that its “general interest in the present litigation

                    26

                    27
                          2
                            See, Second Stipulation Between the Debtors, the Committee and Hillair Capital Management for (1) Authorization
                    28    to Use Cash Collateral on an Interim Basis ; (2) Appointment of a Chief Restructuring Officer (Docket No. 132).
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                     1    mirrors that of the Debtors’ estates.”3 Hillair then goes on to state that it “has rights under the

                     2    Cash Collateral Stipulation that could be adverse to the Debtors if the Stay Violation Claims are

                     3    unsuccessful.”4 That argument does not reflect a divergence of interests in the litigation –

                     4    presumably both Scoobeez and Hillair desire the litigation to be successful. Rather, that

                     5    argument is based upon a potential for adversity with regard to Scoobeez’ future use of cash

                     6    collateral, in the event that the litigation is unsuccessful. Avoiding that dispute should incentivize

                     7    Scoobeez to successfully prosecute the litigation, a goal that is consistent with, not divergent

                     8    from, Hillair’s interests.

                     9              Hillair also argues that it has unique interests due to its status as a potential purchaser of
                    10    Scoobeez’ assets, “including the right to terminate the sale agreement.”5 Once again, there is no

                    11    explanation as to why this interest is not adequately represented by Scoobeez. Presumably, both

                    12    Scoobeez and Hillair would prefer for the prospective sale to be approved by this Court and close

                    13    in accordance with the terms of the proposed sale agreement. Successful prosecution of the

                    14    present litigation would further that result. Thus, Scoobeez’ interests and those of Hillair are

                    15    aligned when viewed from the perspective of the prospective sale agreement. As with Scoobeez’

                    16    cash collateral use, Hillair’s alleged right to terminate the sale agreement if the litigation is not

                    17    successful simply incentivizes Scoobeez to achieve a result consistent with Hillair’s interest.

                    18    There is no divergence of interests between those of Scoobeez and Hillair, as purchaser. Thus,

                    19    Scoobeez adequately represents Hillair’s interest in this litigation and Hillair is not entitled to
                    20    intervene as a matter of right.

                    21                                                         V.

                    22                 THE COURT SHOULD NOT GRANT PERMISSIVE INTERVENTION

                    23              Federal Rule of Civil Procedure 24(b)(1) permits a court to allow a party to intervene if

                    24    that party: “(A) is given a conditional right to intervene by a federal statute; or (B) has a claim or

                    25    defense that shares with the main action a common question of fact or law.” Hillair cannot meet

                    26
                          3
                              Motion at 15:24-25.
                    27    4
                              Motion at 15:24-27.
                    28    5
                              Motion at 16:1-2.
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                     1    the foregoing standard because it does not have a “claim” for violation of the automatic stay.

                     2    Rather, any claim for violation of the automatic stay that may exist belongs to the debtors’

                     3    bankruptcy estate as Hillair cannot allege that it suffered a particularized injury, as opposed to a

                     4    secondary injury derivative of any damage that the debtors’ bankruptcy estates may have

                     5    suffered.

                     6             Even if Hillair had a particularized injury, which it does not, permissive intervention

                     7    should be denied. Hillair’s proposed complaint raises substantial questions of fact and law that

                     8    are not raised in this proceeding by Scoobeez’ complaint. Further, as the irrelevant and

                     9    oppressive discovery served by Hillair in connection with Amazon Logistics’ motion for relief
                    10    from the stay demonstrates, and consistent with the over-breadth of complaint in intervention that

                    11    Hillair proposes to file, Hillair’s participation in the present action will overly complicate and

                    12    delay the resolution of the present proceeding. The Bankruptcy Code entrusts a chapter 11

                    13    debtor’s estate to the debtor in possession (absent the appointment of a trustee). This Court

                    14    should not permit Hillair to shanghai the estate through the guise of intervening in this adversary

                    15    proceeding.

                    16                                                       VI.

                    17                                    IF INTERVENTION IS GRANTED,

                    18                     THE SCOPE OF THAT INTERVENTION SHOULD BE LIMITED

                    19             If this Court is inclined to grant Hillair’s motion to intervene (which it should not for the
                    20    reasons set forth above), it should limit Hillair’s participation in this proceeding.

                    21                      The precise scope of [a party’s] intervention is a matter committed
                                            to the district court’s “broad discretion.” Courts have exercised that
                    22                      discretion to limit the participation of intervenors as of right in a
                                            number of ways. An intervening party, for example, cannot
                    23                      “preclude other parties from settling their own disputes.” Courts may
                                            further restrict intervention to “the claims raised by the original
                    24                      parties,” or a particular set of issues. Finally, intervenors may be
                                            denied discovery . . . .
                    25

                    26    Financial Oversight and Management Board for Puerto Rico, 872 F.3d at 64 (internal citations

                    27    omitted).

                    28             The present complaint before this Court alleges that Amazon Logistics has threatened to
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                     1    violate the automatic stay by: (a) terminating its contract with Scoobeez, (b) reducing the number

                     2    of routes assigned to Scoobeez and (c) soliciting Scoobeez’ drivers to terminate their employment

                     3    with Scoobeez. In addition, that complaint alleges that, in October 2019, Amazon Logistics

                     4    violated the automatic stay be reducing the number of routes assigned to Scoobeez. The

                     5    complaint contains four claims for relief: (a) for violation of the automatic stay, (b) for a

                     6    declaratory judgment regarding the applicability of the automatic stay, (c) for an injunction to

                     7    prevent Amazon Logistics from violating the automatic stay and (d) for breach of the covenant of

                     8    good faith and fair dealing.

                     9             Hillair’s proposed complaint in intervention contains numerous factual allegations not
                    10    included, or relevant to, Scoobeez’ claims: (a) allegations concerning the make-up of Scoobeez’

                    11    workforce (¶¶ 9 and 10); (b) allegations regarding numerous provisions in the Amazon

                    12    Logistics/Scoobeez contract unrelated to Amazon Logistics’ alleged obligation to provide routes

                    13    to Scoobeez (¶¶ 13, 14, 15 and 16); (c) allegations regarding the financing provided to Scoobeez

                    14    by Hillair (¶¶ 17, 18, 19, 20 and 29); (d) allegations regarding the circumstances leading to

                    15    Scoobeez’ chapter 11 filing (¶¶ 21 and 22); (e) allegations regarding pleadings filed in Scoobeez’

                    16    chapter 11 case (¶¶ 24, 25, 26 and 28); (f) allegations regarding the quality of services provided

                    17    by Scoobeez to Amazon (¶ 27); (g) allegations regarding the business strategies pursued by

                    18    Scoobeez (¶¶ 30, 31, 32 and 33); and (h) allegations regarding Amazon Logistics’ knowledge (or

                    19    lack thereof) of Scoobeez’ sale process (¶ 47). Despite adding all of these factual issues, Hillair’s
                    20    proposed complaint in intervention does not seek any relief not being sought in Scoobeez’

                    21    pending complaint.

                    22             There is simply no reason to permit Hillair to file its complaint in intervention or to permit

                    23    Hillair to participate in this adversary proceeding, other than as an interested observer. As stated

                    24    above, Scoobeez’ Chief Restructuring Officer was selected by Hillair and appointed at Hillair’s

                    25    insistence. Scoobeez is represented by experienced and competent counsel. Hillair does not seek

                    26    any relief not already being pursued by Scoobeez. Thus, Hillair’s proposed complaint in

                    27    intervention adds nothing to this proceeding.

                    28             On the other hand, allowing Hillair to intervene will substantially complicate and delay
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                     1    the resolution of this proceeding. First, as shown above, Hillair’s proposed complaint, if

                     2    permitted, would inject a host of factual issues not raised by Scoobeez’ complaint. Litigating

                     3    those issues will unnecessarily consume the parties’ resources, including those of the Scoobeez

                     4    estate, as well as unnecessarily burden the Court. Second, Hillair has already demonstrated that it

                     5    intends to abuse any right to discovery that it may have by serving oppressive and irrelevant

                     6    discovery requests upon Amazon Logistics in connection with Amazon Logistics’ motion for

                     7    relief from the stay. Allowing Hillair unrestricted rights as an intervenor would be an open

                     8    invitation to engage in the same sort of behavior, in spades, in this proceeding.

                     9             In sum, there is simply no reason to complicate this proceeding by permitting Hillair to
                    10    actively participate in this proceeding, whether by filing its proposed bloated complaint in

                    11    intervention or by giving Hillair license to conduct discovery. Thus, if this Court is inclined to

                    12    permit Hillair to intervent, it should restrict Hillair’s rights to the filing briefs and to arguing any

                    13    motions that may presented to this Court.

                    14                                                      VII.

                    15                                               CONCLUSION

                    16             For the foregoing reasons, Hillair does not have a statutory right to intervene or a right to

                    17    intervene pursuant to Federal Rule of Civil Procedure 24(a), and this Court should not exercise its

                    18    discretion to permit Hillair to intervene pursuant to Federal Rule of Civil Procedure 24(b). In the

                    19    event, however, that this Court does permit Hillair to intervene, it should restrict Hillair’s rights
                    20    as an intervenor to providing the Court with briefing and argument on such issues as may be

                    21    raised in connection with Scoobeez’ complaint.

                    22    Dated: November 4, 2019                               MORGAN, LEWIS & BOCKIUS LLP
                    23

                    24                                                          By:    /s/ Richard W. Esterkin
                                                                                           Richard W. Esterkin
                    25
                                                                                          Attorneys for Amazon Logistics, Inc.
                    26

                    27

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                       1                                    CERTIFICATE OF SERVICE FORM

                      2                                        FOR ELECTRONIC FILINGS
                      3             I hereby certify that on November 4,2019, I electronically filed the foregoing document,

                      4    Amazon Logistics, Inc.'s Opposition to Motion to Intervene (Docket No.6), with the Clerk of

                       5   the United States Bankruptcy Court, Central District of California, Los Angeles Division, using

                       6   the CM/ECF       system, which will send notification of such filing to those parties registered to

                       7   receive notice on this matter.

                       8
                       9                                                    Renee Robles
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I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
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 300 S Grand Ave F122, Los Angeles CA 90071-3132

A true and correct copy of the foregoing document entitled (specify): Amazon Logistics, Inc.'s Opposition to Motion to
Intervene (Docket No.6)


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 11/04/2019        , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 See Service List, attached.



                                                                                        ~     Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                      , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                        o Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 11/04/2019           , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

 The Hon. Julia W. Brand, Suite 1382
 U.S. Bankruptcy Court, Roybal Federal Building
 255 E Temple St, Los Angeles CA 90012

                                                                                        o     Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoin                        is true and correct.
                                                                                                                     /~
11/04/2019         Renee Robles
 Date                      Printed Name                                                           Signature



            This form is mandatory.   It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                             F 9013-3.1.PROOF .SERVICE
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